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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 

 

 

 

 

 

 

JOHNSTOWN DIVISION

UNITED STATES OF AMERICA )

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)
Plaintiff(s)

VS. ) 3:20-mj-46-01

JACKSON CURTIS MARTIN )

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Defendant(s)

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») gave

Initial Appearance
HEARING ON March 23, 2020 11:00a.m.

Before Judge Keith A. Pesto ~~

- in tur hom

 

 

 

 

 

 

 

 

Maureen Shechan-Balchon, Jr. AUSA ~~ -~ Douglas Sughrue, Esq.
Appear for Plaintiff Appear for Defendant
Hearing began \V*lO Hearing adjourned to
Stenographer
Hearing concluded C.A.V. \V:4O — J Shirley Hall

 

 

 

 

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